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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :       Case No. 1:21-cr-00278-2 (BAH)
       v.                                    :
                                             :
DANIEL HERENDEEN,                            :
                                             :
                Defendant.                   :

 GOVERNMENT’S SUPPLEMENT TO AMENDED SENTENCING MEMORANDUM

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this supplement to its amended sentencing

memorandum in connection with the above-captioned matter for the reasons that follow:

       1.       Following the filing of the Government’s Amended Sentencing Memorandum,

counsels for the government and the defendant engaged in a discussion regarding allegations

made by the government in its Amended Sentencing Memorandum. As the result of the

discussion, the government seeks to make the corrections set forth herein.

       2.       In its Amended Sentencing Memorandum, the government represented that

Herendeen planned to take a gun with him to Washington, D.C. The parties now agree that rather

than a gun, Herendeen had indicated an intent to take a knife to Washington, D.C.

       3.       The government represented that Herendeen had failed to provide documentation

regarding his business income to the Probation Office. This was incorrect as Herendeen provided

the requested information prior to the preparation of the final Presentence Investigation Report.

       4.       The government represented that Herendeen had failed to show remorse for his

criminal conduct. This representation was inaccurate and should be disregarded by the Court.

Herendeen has indeed shown remorse.
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       5.       The government represented that Herendeen offered to sell video that he recorded

inside the Capitol. Because this representation was made during an off-the-record proffer, rather

than an on-the-record, it should be disregarded by the Court.

                                             Respectfully submitted,

                                             MATTHEW GRAVES
                                             UNITED STATES ATTORNEY
                                             DC Bar No. 481052


                                     By:      /s/ Anita Eve
                                             ANITA EVE
                                             PA Bar No. 45519
                                             Assistant United States Attorney (Detailee)
                                             U.S. Attorney’s Office
                                             555 4th Street, N.W., Room 5840
                                             Washington, D.C. 20530
                                             Anita.eve@usdoj.gov
                                             (215) 764-2177




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